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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 17-60-WM


 UNITED STATES OF AMERICA,

       Plaintiff,

 vs.

 SCOTT JOSEPH TRADER,

       Defendant.
 _________________________________/


   DEFENDANT’S INVOCATION OF RIGHT TO SILENCE AND COUNSEL

       The defendant named above does hereby invoke his rights to remain silent

 and to counsel with respect to any and all questioning or interrogation, regardless of

 the subject matter, including, but not limited to: matters that may bear on or relate

 to arrest, searches and seizures, bail, pretrial release or detention, evidence at trial,

 guilt or innocence, forfeitures; or that may be relevant to sentencing, enhanced

 punishments, factors applicable under the U.S. Sentencing Guidelines, restitution,

 immigration status or consequences resulting from arrest or conviction; appeals or

 other post-trial proceedings.

       The defendant requests that the U.S. Attorney ensure that this invocation of

 rights is honored, by forwarding a copy of it to all law enforcement agents,

 government officials, or employees associated with the investigation of any matters
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 relating to the defendant. Any contact with the defendant must be made through

 the defendant’s lawyer, undersigned counsel.

                                          Respectfully submitted,

                                          MICHAEL CARUSO
                                          FEDERAL PUBLIC DEFENDER


                                   By:    s/Fletcher Peacock
                                          Fletcher Peacock
                                          Assistant Federal Public Defender
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                            CERTIFICATE OF SERVICE

       I HEREBY certify that on June 2, 2017, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF.            I also certify that the

 foregoing document is being served this day on all counsel of record or pro se parties

 identified on the attached Service List in the manner specified, either via

 transmission of Notices of Electronic Filing generated by CM/ECF or in some other

 authorized manner for those counsel or parties who are not authorized to receive

 electronically Notices of Electronic Filing.



                                          By: s/Fletcher Peacock, AFPD
                                               Fletcher Peacock




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               UNITED STATES v. SCOTT JOSEPH TRADER
                             Case No. 17-60-WM
          United States District Court, Southern District of Florida



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